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 Attorney for Defendants/Counterclaim Plaintiffs

                                  UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY
 --------------------------------------------------------------------------------x
 1735 JERSEY AVE LLC,

                                    Plaintiff/Counterclaim Defendant,
                  -against-                                                           Docket No.:
                                                                                      3:24-cv-06168
 LUXE LIVING DESIGN, LLC
 and CHAIM S. TREITEL,                                                                NOTICE OF
                                                                                      APPEARANCE
                                     Defendants/Counterclaim Plaintiffs.
 --------------------------------------------------------------------------------x

          PLEASE TAKE NOTICE that the undersigned attorney hereby appears as counsel for

 Defendants/Counterclaim Plaintiffs Luxe Living Design, LLC and Chaim S. Treitel, and that all

 papers filed in this proceeding should be served on the undersigned at the office address noted

 below.

 Dated: New York, New York
        July 22, 2024
                                                               TWERSKY PLLC

                                                      By:      ______________________________
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 To:

 Clerk of the Court (via ECF)

 All Counsel (via ECF)




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